                 CaseJudgment
AO 245B (Rev. 09/19)
                       2:19-cr-00421
                              in a Criminal Case
                                                Document 52 Filed on 11/18/19 in TXSD Page 1 of 6
                       Sheet 1                                                                                 United States District Court
                                                                                                                 Southern District of Texas

                                         UNITED STATES DISTRICT COURT                                               ENTERED
                                              SOUTHERN DISTRICT OF TEXAS                                        November 18, 2019
                                                Holding Session in Corpus Christi                                David J. Bradley, Clerk

         UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                  v.
                HERIBERTO LERMA                                      CASE NUMBER: 2:19CR00421-001

                                                                     USM NUMBER: 90252-479

                                                                     Ricardo Perez
                                                                     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s)
    pleaded nolo contendere to count(s)
     which was accepted by the court.
    was found guilty on count(s) 1 and 2 on August 13, 2019.
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section            Nature of Offense                                                             Offense Ended         Count
8 U.S.C. §§               Transportation of Undocumented Aliens                                            04/15/2019              1
1324(a)(1)(A)(ii),
1324(a)(1)(A)(v)(II), and
1324(a)(1)(B)(ii)
8 U.S.C. §§               Transportation of an Undocumented Alien                                          04/15/2019              2
1324(a)(1)(A)(ii),
1324(a)(1)(A)(v)(II), and
1324(a)(1)(B)(ii)
 See Additional Counts of Conviction.
        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
 The defendant has been found not guilty on count(s)
    Count(s)                                            dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                  November 14, 2019
                                                                  Date of Imposition of Judgment


                                                                  ReservedForJudgeSignature
                                                                  Signature of Judge


                                                                  DAVID S. MORALES
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge


                                                                  ReservedForSignDate
                                                                  November 18, 2019
                                                                  Date                                                                 CNG
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                       Sheet 2 – Imprisonment
                                                                                            Judgment — Page   2    of   6
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                                                      IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
of: 41 months.
This term consists of 41 months as to each of Counts 1 and 2, to run concurrently, for a total of 41 months.
 See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:
      The defendant participate in the 500-hour Residential Drug Abuse Program (RDAP).

 The defendant is remanded to the custody of the United States Marshal.


 The defendant shall surrender to the United States Marshal for this district:
       at                             on
       as notified by the United States Marshal.


 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       before 2 p.m. on
       as notified by the United States Marshal.
       as notified by the Probation or Pretrial Services Office.



                                                            RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                to

 at                                             , with a certified copy of this judgment.


                                                                                        UNITED STATES MARSHAL




                                                                  By
                                                                                    DEPUTY UNITED STATES MARSHAL
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                          Sheet 3 – Supervised Release
                                                                                                           Judgment — Page        3      of        6
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 3 years.
This term consists of 3 years as to each of Counts 1 and 2, to run concurrently, for a total of 3 years.


                                                   MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
      and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance abuse.
                  (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check
            if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
            the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a
            student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
     See Special Conditions of Supervision.
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
      imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
      report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
      the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
      as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance
      is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
      expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
      items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
      you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
      plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
      officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
      felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
      or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
      the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to
      notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you
      have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
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                       Sheet 3D – Supervised Release
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                                   SPECIAL CONDITIONS OF SUPERVISION

TRUCK DRIVING CONDITION: While on supervised release and engaged in truck driving either as the driver or a passenger, the
defendant shall, upon arriving at a checkpoint, border crossing, weigh station, or upon being stopped for an environmental or safety
inspection, or traffic violation, or upon any road side contact, declare to the officer that the defendant is on supervision for an alien
smuggling offense. Upon request, the defendant shall consent to a search of his person, the tractor, trailer, and its contents.
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                         Sheet 5 – Criminal Monetary Penalties
                                                                                                    Judgment — Page      5      of     6
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                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                Assessment                Restitution            Fine               AVAA Assessment*               JVTA Assessment**
TOTALS          $200.00                   $0.00                  $0.00              $0.00                          $10,000.00
    A $100.00 special assessment is ordered as to each of Counts 1 and 2, for a total of $200.00.
    A $5,000 special assessment is ordered as to each of Counts 1 and 2, for a total of $10,000.00 pursuant to the Justice for Victims
    of Trafficking Act of 2015, pursuant to 18 U.S.C. § 3014.

   See Additional Terms for Criminal Monetary Penalties.

 The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C) will
  be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid before the United States is paid.

Name of Payee                                                       Total Loss***           Restitution Ordered       Priority or Percentage
                                                                                $                             $

 See Additional Restitution Payees.
TOTALS                                                                         $                               $

     Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
     the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       the interest requirement is waived for the  fine  restitution.

       the interest requirement for the  fine  restitution is modified as follows:


     Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be
      effective. Therefore, the assessment is hereby remitted.

*   Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
    on or after September 13, 1994, but before April 23, 1996.
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                         Sheet 6 – Schedule of Payments
                                                                                                     Judgment — Page   6     of         6
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                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A         Lump sum payment of $                                due immediately, balance due
          not later than               , or
          in accordance with  C,  D,  E, or  F below; or
B         Payment to begin immediately (may be combined with  C,  D, or  F below); or
C         Payment in equal                              installments of $                   over a period of                               ,
           to commence                                 after the date of this judgment; or
D         Payment in equal                              installments of $                 over a period of                                 ,
           to commence                                 after release from imprisonment to a term of supervision; or
E         Payment during the term of supervised release will commence within                         after release from imprisonment.
           The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F         Special instructions regarding the payment of criminal monetary penalties:
           Payable to:      Clerk, U.S. District Court
                            Attn: Finance
                            1133 N Shoreline Blvd, Ste 208
                            Corpus Christi, TX 78401

                            The additional assessment shall be paid at a rate of $280.00 per month after placement on supervised release.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
     Joint and Several
Case Number
Defendant and Co-Defendant Names                                                   Joint and Several             Corresponding Payee,
(including defendant number)                                   Total Amount            Amount                       if appropriate

     See Additional Defendants and Co-Defendants Held Joint and Several.

     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.
